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14
15                       UNITED STATES DISTRICT COURT
16                      CENTRAL DISTRICT OF CALIFORNIA
17
18 VIVINT, INC., a Utah corporation,                Case No. 8:22-cv-33
19                               Plaintiff,         PLAINTIFF’S NOTICE
                                                    OF RELATED CASES
20
                vs.
21                                                  [L.R. 83-1.3]
     SB IP HOLDINGS, LLC,
22
                              Defendant.
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                                                                    PLAINTIFF’S NOTICE OF RELATED CASES
                                              -1-                                    Case No. 8:22-cv-33
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 1        Pursuant to Local Rule 83-1.3, Plaintiff Vivint, Inc. files the instant Notice of
 2 Related Cases. The following case, which was filed on the same day as the instant case,
 3 may be related:
 4             Vivint, Inc. v. SB IP Holdings, LLC, Case No. 8:22-cv-34, filed on January 7,
 5               2022.
 6        Plaintiff Vivint, Inc. is the same in both cases. Defendant SB IP Holdings, LLC is
 7 the same in both cases. Defendant SB IP Holdings, LLC, is the purported patent owner
 8 of all patents in both cases. The patents, however, differ between the cases.
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     DATED: January 7, 2022                  /s/ Sterling A. Brennan
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                                             MASCHOFF BRENNAN
11                                           GILMORE & ISRAELSEN
12                                           Sterling A. Brennan

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                                                                  PLAINTIFF’S NOTICE OF RELATED CASES
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